
33 N.Y.2d 988 (1974)
In the Matter of the Claim of Lee R. Slade, Respondent,
v.
Albert Perkins et al., Appellants, and E. Brown, Doing Business as E &amp; B Contracting Co., et al., Respondents. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued January 14, 1974.
Decided February 14, 1974.
John M. Cullen and Herbert Lasky for State Insurance Fund, appellant.
Louis J. Lefkowitz, Attorney-General (Jorge L. Gomez, Ruth Kessler Toch and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed, with costs, on the memorandum at the Appellate Division. The court notes additionally that the Appellate Division properly interpreted the board's decision as one in which it made a conscious choice between conflicting testimony as to what was credible.
